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                          IN THE UNITED STATES DISTRICT COURT •
                           FOR THE NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION



  ENDLESS RIVER TECHNOLOGIES LLC,                     CASE NO.: 1:18 CV 936


         Plaintiff/Counter-Defendant,

  V.                                                  JUDGE DONALD C. NUGENT


  TRANS UNION LLC,
                                                      MEMORANDUM OPINION
                                                      AND ORDER
         Defendant/Counter-Plaintiff.




         This case is currently before the Court on Defendant, TransUnion LLC's("TransUnion")

  Motion for Judgment as a Matter ofLaw. (ECF # 276). Endless River Technologies LLC

  ("Endless River")filed a Briefin Opposition to the motion(ECF # 276), and TransUnion filed a

  Reply Briefin support ofits motion. (ECF #285). The matter is now fully briefed and ready for

  disposition. Having reviewed the briefs and fully analyzed the contracts and applicable law,the

  Court finds that TransUnion's Motion for Judgment as a Matter ofLaw should be GRANTED.

         Plaintiffs Second Amended Complaint alleged seven causes of action:(1)Breach of

  Contract;(2)Trade Secret Misappropriation;(3)Conversion;(4)Defamation;(5)Slander of

  Title;(6)Tortious Interference with Business Expectancy; and,(7) Violations ofthe Ohio

  Deceptive Trade Practices Act. The Defendant asserted counterclaims for Breach of Contract

  and Declaratory Judgment. Plaintiffs claim for conversion, and Defendant's claim for

  Declaratory Judgment were dismissed on summaryjudgment. (ECF #170). Also during

  summaryjudgment,the Court found that the contract plainly and unambiguously provided that

  ownership ofthe QE Code reverted to Endless River ownership when TransUnion terminated the
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  contract at the end of2018. (ECF #170,PagelD # 9764-65). Although Endless River did not

  seek summaryjudgment on its breach ofcontract claim, the parties subsequently agreed that this

  finding established that TransUnion's failure to timely return the Code to Endless River was a

  breach ofthe contract.


          On the first day oftrial, prior to voir dire, the Defendants volvmtarily dismissed their

  counterclaim. (ECF #261,PagelD #12744). On the third day, Plaintiff voluntarily dismissed its

  claim for Tortious Interference with Business Expectancy. (ECF #271). Following the

  Plaintiffs presentation ofevidence, the Court granted Defendant's Rule 50 motion for judgment

  as a matter oflaw on Count Four(Defamation), and reserved ruling as to the other remaining

  counts. (ECF #272). At the close of evidence,the Court found in favor of Endless River on

  Count One(Breach of Contract), and dismissed Cormts 2(Trade Secret Misappropriation), 5

  (Slander of Title), and 7(Violations ofthe Ohio Deceptive Trade Practices Act).(ECF #268,

  PagelD 14202-03; ECF #273). The jury was instructed to determine whether damages had been

  proven on the breach of contract claim, and if so, in what amount. (ECF #274).

         On September 16,2022,the twelve member Jury returned a unanimous finding that

  Plaintiff, Endless River proved, by a preponderance ofthe evidence that it suffered damages in

  the amount of$18.3 million, proximately caused by TransUnion's failure to timely retum the
                                             *




  Quote Exhange code in accordance with the contract terms. (ECF #274). The Court accepted

  the Jury's findings and entered Judgment in favor ofPlaintiffs and against the Defendant

  TransUnion in that amount.(ECF #273, 275). Defendant now moves for judgment as a matter of

  law, arguing that the jury's damages award is prohibited by the terms ofthe contract, and

  otherwise precluded as a matter oflaw.


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                                      STANDARD OF REVIEW


         Fed. R. Civ. P. 50 provides in relevant part that:

           If a party has been fully heard on an issue during a jury trial and the

            court finds that a reasonable jury would not have a legally

           sufficient evidentiary basis to find for the party on that issue, the

           court may;

                   (A)resolve the issue against the party; and

                  (B)grant a motion for judgment as a matter oflaw against
           the party on a claim or defense ...


          Fed.R.Civ.P. 50(b)provides that if a court does not grant a motion for judgment as a

  matter oflaw made after the close of all the evidence and the party renews its request after a

  verdict is returned, the court may(1)allow the judgment to stand,(2)order a new trial, or(3)

  direct entry ofjudgment as a matter oflaw. The "standard for granting a renewed motion for

 judgment as a matter oflaw under Rule 50(b)is precisely the same as the standard for granting

  the pre-submission motion." Wright & Miller, Federal Practice and Procedure: Civil 2d § 2537,

  p. 347(footnote omitted).

         That is,judgment as a matter oflaw may be granted when "a party has been fully heard

  on an issue and there is no legally sufficient evidentiary basis for a reasonable jury to find for that

  party on that issue." Imwalle v. Reliance Medical Products, Inc., 515 F.3d 531,543 (6'*' Cir.

  2008)(citing Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 149(2000); see also Fed.

  Civ. R.50(b). "The Court is not fi:ee to weigh the parties' evidence or to pass upon the credibility

  of witnesses. Nor may the Court substitute its own judgment for that ofthe jury.... When the


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  evidence would permit reasonable minds to differ on the issues decided, a motion for judgment

  as a matter oflaw must be denied. In short, every effort must be made to uphold the verdict if

  reasonably possible." In re Scrap Metal Antitrust Litigation, No. 1:02 CV 0844,2006 WL

  2850453, at *8(N.D. Ohio Sept. 30,2006).




                                               FACTS


         In 2014,the parties entered into a Development Agreement and Contract for Services

  ("the Agreement") outlining their rights and obligations in the joint development and

  commercialization of a method for providing insurers on-line, real-time comparison price quotes

  to consumers("Quote Exchange"). The parties agree that the Agreement provided that "[i]n the

  event the Quote Exchange [did] not meet expectations at any time in Trans Union's sole

  discretion," Trans Union could "terminate the contract upon 180 days prior written notice."

 (ECF #1, Ex. A). TransUnion exercised this right on October 4,2017. The contract further

  provided that should TransUnion choose to terminate the Contract,"the Quote Exchange

  platform source code developed hereunder will revert to ERT [Endless River] ownership."

  Following termination, TransUnion failed to recognize Endless River's ownership rights, thereby

  breaching the Contract.

         TransUnion is not disputing the determination that it breached the contract. Rather, it

  raises six separate challenges to the validity ofthe damages sought by the Plaintiff and awarded

  by the jury. First, TransUnion claims that the verdict awards damages that are specifically barred

  under Section 8.2 ofthe Contract. Second, it claims that the damages violate Illinois'"New

  Business Rule," which precludes lost profit damages for start-up businesses. TransUnion also


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  claims that the amount awarded include improper amounts for potential profits that predate the

  breach; violate Illinois' prejudgment interest limits; ignore mitigation evidence; and are

  unsupported by the evidence presented at trial.


                                              ANALYSIS


  A. Damages Waiver


         In a breach of contract action,"the law of damages seeks to place the aggrieved party in

  the same economic position the aggrieved party would have attained ifthe contract had been

  performed." 11 Corbin on Contracts §55.11 (2022)(citing Restatement(First) of Contracts §

  329); see also Restatement(Second)of Contracts §347("Contract damages are ordinarily based

  on the injured party's expectation interest and are intended to give him the benefit of his bargain

  by awarding him a sum of money that will, to the extent possible, put him in as good a position

  as he would have been in had the contract been performed."). There are two broad categories of

  contract damages:(1)direct, or general damages and(2)consequential, or special damages. 24

  Williston on Contracts §64:16 (4"^ ed.).

         Although consequential damages can generally be awarded in a breach of contract action,

  the parties may contractually limit liability for these types of damages. Illinois law, which

  governs the Agreement in this case, recognizes the "strong public policy favoring freedom of

  contract," and permits enforcement of damage limiting clauses. See, Westlake Fin. Grp., Inc. V.

  CDH-Delnor Health Sys., 25 N.E. 3d 1166, 1174 (111. App. Ct. 2015). However,Illinois also

  holds that damages waivers should be strictly construed against the benefitting party. Aculocity,

  LLC V. Force Marketing Holdings, LLC,NO. 17-CV-2868,2019 WL 764040, at *2(N.D. 111.



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  Feb. 21,2019). Section 8.2 ofthe Contract between the parties contains this type oflimiting

  clause in the form ofa waiver of liability barring recovery of any consequential or indirect

  damages,including lost profits or revenue:

         IN NO EVENT SHALL EITHER PARTY BE LIABLE FOR,AND BOTH
         [TRANSUNION]AND [ENDLESS RIVER]HEREBY WAIVE AS TO THE
         OTHER PARTY,ANY CONSEQUENTIAL,INCIDENTAL,INDIRECT,
         SPECIAL OR PUNITIVE DAMAGES INCURRED BY THE OTHER PARTY
         AND ARISING OUT OF THE PERFORMANCE OF THIS CONTRACT,
         INCLUDING BUT NOT LIMITED TO LOSS OF GOOD WILL AND LOST
         PROFITS OR REVENUE,WHETHER OR NOT SUCH LOSS OF DAMAGES
         IS BASED IN CONTRACT,WARRANTY,TORT,NEGLIGENCE,STRICT
         LIABILITY,INDEMNITY,OR OTHERWISE EVEN IF SUCH PARTY HAS
         BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. THESE
         LIMITATIONS SHALL APPLY NOT WITHSTANDING ANY FAILURE OF
         ESSENTIAL PURPOSE OR ANY LIMITED REMEDY.


 (ECF #1-1, Development Agreement §8.2). The parties recognize that Illinois courts have read

  similar language to mean that the waiver precludes recovery oflost profits or revenue only when

  they constitute consequential damages, and not when they can be considered direct damages.

         Endless River presented a damages theory based on the Venture Capital Approach("VC

  Approach") which seeks to define a start-up company's projected value, in the absence ofany

  breach, through the capture oflost market opportunities. Both parties agree that this calculation

  is, in essence, a calculation oflost profits.(ECF #283,PageID14552;ECF # 276-1

  PageID14348,14367-68). They disagree on whether these damages are direct or consequential.

  The question the Court must, therefore, answer is whether the Plaintiff's evidence ofdamages

  proves direct damages, which are recoverable, or consequential damages which are barred imder

  the Contract.


         Direct damages are "[djamages that the law presumes follow the type of wrong



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  complained of." Id. (citing Black's Law Dictionary 394(y"* ed. 1999). In contract cases, they are

  those "arising naturally and usually from the breach." or "loss of bargain" damages stemming

  from the failure ofthe promised performance itself. 11 Corbin on Contracts § 55.6(2022).

  Illinois further defines direct contractual damages as "utterly foreseeable, indeed certain to stem

  from a breach ofthe contract." See Tate & Lyle Americas LLC v. Glatt Air Technologies, Inc.,

  2016 WL 7422289, at *4(C.D. 111. 2016). Generally they are considered to be damages that flow

  from the subject matter ofthe contract. See, e.g., DaimlerChrysler Motors Co., LLC v. Manuel,

  362 S.W.3d 160,180-81,183-84(Tex. App.- Fort Worth 2012).

         Consequential damages, on the other hand,"are losses or injuries that do not flow directly

  and immediately from a party's wrongful act but rather result indirectly from the act." Aculocity,

  LLC V. Force Mktg. Holdings, LLC,No. 17-CV-2868,2019 U.S. Dist. LEXIS 27409, at *5(N.D.

  111. 2019). They are "recoverable only if, at the time of[the contract'sjformation, the defendant

  has reason to know offacts indicating that particular or unusual damages will or may result from

  the defendant's breach." 11 Corbin on Contracts § 55.6(2022). Consequential damages must

  still be proximately caused by the breach and must be foreseeable, but they are not the invariable

  result ofa breach. Id. The difference between direct and consequential damages in breach of

  contract claims lies "in the degree to which the damages are a foreseeable ... highly probable[]

  consequence ofa breach." Rexnord Corp. v. DeWolffBoberg & Assocs., Inc., 286 F.3d 1001,

  1004(7"" Cir. 2002). Consequential damages require proof of an additional "link in the causal

  chain" in order to connect the damages to the contract. Powell Elec. Sys., Inc. v. Hewlett

  Packard Co., 356 S.W.3d 113(Tex. App. 2011).

         Plaintiff relies in large part on the decision in Midland Hotel Corp. V. Reuben H.


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  Donnelley Corp.,SIS N.E.2d 61 (111. 1987), to argue that the lost profits in this case are direct and

  not consequential damages. In that case, the Midland Hotel entered into a contract with Reuben

  H. Donnelley Corp.("RHD")to include Midland in the first issue ofa new phone directory RHD

  was publishing. Midland agreed to distribute the directory in its hotel, in return for an

  advertisement on the outside back-cover and a listing in the appropriate section ofthe directory.

  When the directory was published. Midland's listing was not placed in the hotel section, but

  rather in the "banquet rooms" section ofthe directory. Midland argued that it lost $1.3 million in

  business because it was not included in the hotel section ofthe directory. The Illinois Supreme

  Court held that the lost profits sought by Midland were direct damages because they were a direct

  and natural consequence of RHD's breach. Specifically, the court found that "the very purpose

  of a Yellow Pages listing is to increase profits," and "the plaintiffs profits formed the very basis

  of its contract with the defendant." Id. at 67.


         Endless River argues that the Development Agreement anticipated the continuation of

  profits following a potential TransUnion termination. They cite Phase III ofthe Agreement

  which provides that,"should TU choose to terminate the contract and should ERT continue to

  market and monetize the TU developed code,repajment ofthe TU incurred development fees

  shall be paid to TU from future ERT revenues generated over a period oftime not to exceed 36

  months." (Endless River Trial Ex 201,Phase III). Based on this provision,they contend that

  their future profits "formed the very basis" ofthe provision that TransUnion breached and are

  analogous to the damages sought in Midland.

         Contrary to Plaintiffs assertion, the Development Agreement between Endless River and

  TransUnion was not formed for the direct purpose of allowing Endless River to monetize the


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  Quote Exchange by selling the product/company. Rather,the Agreement was primarily a service

  contract through which Endless River would provide its expertise to TransUnion to help develop

  the Quote Exchange. The contract does not address obtaining customers, does not require that

  the Quote Exchange be marketed, sold, or licensed, and does not define an expected amount of

  profit or minimum value that the parties should expect to make ifthe product was laimched. It

  defines a profit sharing percentage split between the parties ifthe Quote Exchange does launch

  while the Agreement is in force. However,the completion ofthe Agreement does not require a

  product launch, and allows TransUnion to unilaterally terminate the Agreement prior to any

  laimch or realization of profit, which it did. The contract does permit Endless River to "continue

  to market and monetize the TU developed code," should TransUnion terminate the Agreement. It

  does not require that it do so. TransUnion has no contractual obligation, post-termination, with

  regard to any decision relating to the marketing or monetization ofthe Quote Exchange.

         The Agreement instead focuses on the details ofthe relationship between Endless River

  and Trans Union. It provides that Endless River would be an independent contractor, and would

  receive a consulting fee for providing their expertise during the development ofthe Quote

  Exchange. It defines the compensation that Endless River was to expect imder the contract:

  $300,000.00 annually for their services, and reimbursement for certain expenses up to

  $10,000.00 per month. It further specifies that Endless River was to devote a minimum of 160

  man hours to the project each month, and that any hours in excess ofthat requirement would by

  billed to TransUnion at a rate of$175 per hour. Had TransUnion failed to compensate Endless

  River under these terms, those damages would have been direct damages under the contract.

  However,Endless River did not allege non-payment rmder these terms and did not seek damages


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   for any unpaid compensation or expenses under the contract.' The actual breach that Endless

   River alleged and proved was that TransUnion failed to timely return the Quote Exchange source

   code after the contract was terminated. The direct damages associated with this breach would

   have been a portion ofthe value ofthe source eode itself. Endless River did not attempt to define

   that value and did not seek that value as damages. Instead it sought to recover allegedly lost

   profits, which in this case were,losses or injuries that did not flow directly and immediately from

   the suhjeet matter ofthe contraet or the proven breach, but rather were indirect losses not

   invariably tied to the contract's terms. The lost profit damages sought in this case require proof

   of more than just a breaeh ofthe Agreement. They rely on an additional "link in the causal

  chain" in order to coimect the damages to the contract. Powell Elec. Sys., Inc. v. Hewlett

  Packard Co., 356 S.W.3d 113(Tex. App. 2011). Although there is arguably a foreseeable causal

  link between TransUnion's failure to timely provide the source code, and the lost opportunity for

  profit, that loss was not a certain consequence ofthe breach. The profits Endless River claims to

  have lost were reliant on future transaetions with third parties. The opportunities lost were not in

  existence at the time TransUnion terminated the Agreement. Further, TransUnion was not a

  party to those transactions and had no contractual obligation to promote or otherwise enable

  them.


          The lost profit damages sought by Plaintiff, and awarded by the jury after trial, could only

  have been based on the evidence presented by the Plaintiffs expert. As set forth above,that



   Conversely, had Endless River failed to provide services, in the manner and amount
   defined in the Agreement, TransUnion would have been able to claim the value ofthose
   services as direet damages.


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   evidence calculated lost profits that did not flow directly and immediately from the subject matter

   ofthe contract. The awarded damages, therfore, could only have included consequential

   damages specifically barred by Section 8.2 ofthe Development Agreement. Consequently, the

  jury's determination of damages must be overturned.

          TransUnion also argues that the jury's damage award should be overturned because

   Illinois law does not permit recovery of expected profits for a new commercial business, and

   because the Jury did not have a sufficient evidentiary basis upon which it could properly have

   based its damages finding. As the Court finds that the only evidence of damages that the

  Plaintiff presented was a calculation of consequential damages, and those damages are barred by

  the Development Agreement,there is no need to address these alternative arguments.




                                           CONCLUSION


          For the reasons set forth above. Defendant's Motion for Judgment as a Matter of Law is

  GRANTED,in part. (ECF #276). The Judgment is hereby amended as follows: The Court

  enters Judgment in favor ofthe Plaintiff and against the Defendant on Count One (Breach of

  Contract) of its Second Amended Complaint in the amount ofzero dollars. Judgment is entered

  in favor ofthe Defendant on all other counts. All costs, including costs related to the jury, are to

  be paid by the Defendant. IT IS SO ORDERED.




                                                                Donald C. Nugent
                                                                United States District


  Date:



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